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                              UNITED STATES DISTRICT COURT                                    fUILE~
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION
                                                                                         FEB 14 2019
                                                                                      ~A t:l.S. DISTRICl COURT
                                                                                      ,.,,STERN DISTRICT OF MO
 UNITED STATES OF AMERICA,                          )                                         ST. LOUIS
                                                    )
 Plaintiff,                                         )
                                                    )
 v.                                                 ) No. :      4:19CR00137 RWS/DDN
                                                    )
 DANIEL R. WALKER,                                  )
                                                    )
 Defendant.                                         )

                                          INDICTMENT

                                           COUNT ONE
        The Grand Jury charges that:

        On or about June 23, 2018, in St. Francois County, within the Eastern District of

Missouri,

                                         DANIEL R. WALKER,

the Defendant herein, did knowingly and intentionally receive explosive materials that travelled

in interstate or foreign commerce, with knowledge and intent that it would be used to kill, injure,

or intimidate an individual or damage or destroy a vehicle ..

        In violation of Title 18, United States· Code, Section 844(d).

                                          COUNT TWO

        The Grand Jury further charges that:

        On or about June 23, 2018, in St. Francois County, within the Eastern District of

Missouri,

                                           DANIEL WALKER,

the Defendant herein, did knowingly make a destructive device, as defmed by Title 26 United

States Code Section 5845 (a) and (f), to wit, a pipe bomb.
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       In violation of Title 26, United States Code, Section 586l(f).

                                        COUNT THREE

       The Grand Jury further charges that:

       On or about June 25, 2018, in St. Francois County, within the Eastern District of

Missouri,

                                       , DANIEL WALKER,            .

the Defendant herein, having been convicted previously in a court of law of one or mor~ crimes

punishable by a term of imprisonment exceeding one year, did knowingly and intentionally

receive and possess an explosive which previously traveled in interstate or foreign commerce

during or prior to being in the Defendant's possession.

       In violation of Title 18, United States Code, Section 842(i)(l).




                                              A TRUE BILL.



                                              FOREPERSON

JEFFREY B. JENSEN
United States Attorney


RODNEY H. HOLMES, #624455 lIL
Assistant United States Attorney ·




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